           Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 1 of 25



     Patrick J. Perotti (Ohio Bar No. 0005481)
 1   Frank A. Bartela (Ohio Bar No. 0088128)
     DWORKEN & BERNSTEIN CO., L.P.A.
 2   60 South Park Place
     Painesville, Ohio 44077
 3   Telephone: (440) 352-3391
     Facsimile: (440) 352-3469
 4   Email: pperotti@dworkenlaw.com
             fbartela@dworkenlaw.com
 5
     John A. Kithas (California Bar No. 64284)
 6   Christopher Land (California Bar No. 238261)
     LAW OFFICES OF JOHN A. KITHAS
 7   One Embarcadero Center, Suite 1020
     San Francisco, CA 94111
 8   Telephone: (415) 788-8100
     Facsimile: (415) 788-8001
 9   Email: john@kithas.com
            chris@kithas.com
10
     Christopher J. Morosoff, Esq. (SBN 200465)
11   LAW OFFICE OF CHRISTOPHER J. MOROSOFF
     77-760 Country Club Drive, Suite G
12   Palm Desert, California 92211
     Telephone: (760) 469-5986
13   Facsimile: (760) 345-1581
     Email: cjmorosoff@morosofflaw.com
14
     Attorneys for Plaintiffs
15

16                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
17

18    JAMES P. BRICKMAN, individually and as a           Case No. 3:15-cv-02077-JD
      representative of all others similarly situated,
19                                                       FOURTH AMENDED COMPLAINT
                                                         CLASS ACTION
20             and
                                                         DEMAND FOR JURY TRIAL
21
      Margaret Clingman, individually and as a
22    representative of all others similarly situated,
      527 Sandpiper Circle, Lodi
23    California, 95240
24                    Plaintiffs,
25    v.
26    FITBIT, INC.,
27                    Defendant.
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                         Page - 1 -
              Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 2 of 25




 1
              Now come Plaintiffs James P. Brickman and Margaret Clingman, individually and as
 2
     representatives of all others similarly situated, and for this Fourth Amended Class Action Complaint
 3
     state:
 4
                                               INTRODUCTION
 5

 6
              1. This is a class action brought by James P. Brickman and Margaret Clingman
 7
     (“Plaintiffs”), individually and as putative class representatives, against Fitbit, Inc. (“Defendant”
 8
     and/or “Fitbit”).
 9
              2. Defendant sells wearable, wireless-enabled devices that purportedly track exercise and
10
     other fitness and physical activity to measure data such as the number of steps walked, calories
11
     burned, and other similar personal metrics.
12
              3. This lawsuit does not challenge any of those functions. Recently however, Defendant has
13
     made specific advertisement claims that for an extra charge, the customer can purchase a device
14
     which also contains a "sleep-tracking" function which will track "hours slept," "times woken up,"
15
     and “sleep quality."
16
              4. In fact, the sleep-tracking function does not and cannot do these things because the Fitbit
17
     devices can only measure movement and not sleep.
18
              5. These devices do not perform as advertised.
19
              6. Defendant represents a material fact: that these devices track sleep.
20
              7. That material representation is false.
21
              8. The device does not, and cannot, track sleep.
22
              9. The Fitbit devices do not record anything other than movement, while Polysomnography,
23
     the accepted scientific standard for sleep tracking, accurately tracks sleep by monitoring many body
24
     functions during sleep including brain waves, eye movements, muscle activity, heart rhythm, and
25
     more, to diagnose and/or rule out sleep disorders.
26

27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                    Page - 2 -
             Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 3 of 25




 1             10. Further, customer reviews reiterate the fact that the sleep tracking function does not
 2   work. 1
 3             11. A doctor with the London Sleep Center reiterated that Fitbit’s representation of ability to
 4   measure sleep is false. Devices such as Fitbit’s are “not measuring sleep, simply motion – not
 5   muscle tone, brain waives, heart rate or eye movement. You cannot infer quality of sleep from
 6   motion and tell what is crucial REM [rapid eye movement] sleep and what is not.” See Sleep
 7   sensors: Waking up to the need to study our night’s rest, THE GUARDIAN, Aug. 22, 2014 available
 8   at        (http://www.theguardian.com/lifeandstyle/2014/aug/22/sleep-trackers-to-boost-health-fitness)
 9   (last visited Nov. 24, 2015) (quoting Dr. Irshaad Ebrahim).
10             12. Similarly, Plaintiff Brickman personally avers that the representation of the Fitbit
11   device’s ability to track sleep is false. Plaintiff Brickman wore the device after his purchase to track
12   his daily activity as well as his sleep. After a short period of wearing the device, it became obvious
13   to Plaintiff Brickman that the device only tracked his motion and did not actually track the hours he
14   slept, the times he awoke during sleep, or the quality of his sleep.
15             13. Plaintiff Clingman similarly avers that the representation of the Fitbit device’s ability to
16   track sleep is false. Clingman wore the device after her purchase to track her daily activity as well as
17   her sleep. After a short period of wearing the device, it became obvious to Plaintiff Clingman that
18   the device only tracked her motion and did not actually track the hours she slept, the times she
19   awoke during sleep, or the quality of her sleep.
20             14. Thus, consumers who purchase these products and pay the extra amount for the function
21   being factually represented by Defendant as able to track sleep are being lied-to, and do not receive
22   the function for which they paid.
23   1
       A significant amount of anecdotal evidence from consumers as well as sleep-scientists criticizes the Fitbit devices’ sleep-tracking
     function as not tracking sleep. See http://www.theguardian.com/lifeandstyle/2014/aug/22/sleep-trackers-to-boost-health-fitness (last
24
     visited October 28, 2014); http://www.livescience.com/42710-fitness-trackers-sleep-monitoring-accuracy.html (last visited October
     28, 2014); http://www.huffingtonpost.com/2014/01/22/fitness-trackers-sleep_n_4637328.html (last visited October 28, 2014);
25
     http://www.usatoday.com/story/news/nation/2013/03/24/sleep-tracking-devices/2007085/ (last visited October 28, 2014);
     http://techcrunch.com/2012/11/18/fitbit-one-review-slightly-flawed-but-still-a-great-way-to-quantify-yourself/ (last visited October
26
     28, 2014); http://gizmodo.com/fitbit-force-review-a-health-tracker-youd-actually-ke-1454962288 (last visited October 28, 2014);
     http://gizmodo.com/5954563/fitbit-one-review-a-great-way-to-monitor-your-wretched-laziness (last visited October 28, 2014).
27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                                               Page - 3 -
           Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 4 of 25




 1           15. By advertising this sleep-tracking function falsely and without actually providing this
 2   function to its customers, Defendant is violating California and Florida law. This lawsuit is to stop
 3   this unlawful practice, force the Defendant to return and disgorge its inequitable profits, and recover
 4   for customers the overcharges which they paid.
 5                                                  PARTIES
 6           16. Plaintiff James P. Brickman is an individual and resident of the State of Florida, County
 7   of Hernando, City of Spring Hill.
 8           17. Plaintiff Margaret Clingman is an individual and resident of the State of California,
 9   County of San Joaquin, City of Lodi.
10           18. Defendant Fitbit, Inc. is a corporation organized under the laws of Delaware,
11   headquartered in San Francisco, CA, and registered to do business with the Secretary of State of
12   California.   Defendant operates its website and online store (www.fitbit.com) from California,
13   through which Defendant sells its consumer fitness devices. Defendant also sells these devices at
14   national brick-and-mortar retailer stores, including Apple stores, AT&T and Verizon stores, Best
15   Buy, Brookstone, Dick’s Sporting Goods, RadioShack, REI, Target, and more (see
16   http://www.fitbit.com/where-to-buy).
17                                        JURISDICTION & VENUE
18           19. Defendant is a citizen of the State of California.
19           20. Plaintiff Clingman is a citizen of the State of California
20           21. Plaintiff Brickman is a citizen of the State of Florida.
21           22. This is a putative class action which involves more than 100 class members and more
22   than $5,000,000.00 in controversy.
23           23. This Court has jurisdiction over the present matter pursuant to 28 U.S.C. §1332 et seq.
24           24. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(1) because Defendant has
25   its headquarters in this District.
26           9b.     Intradistrict Assignment: Assignment to the San Francisco Division is proper because
27   a substantial part of the events or omissions which give rise to the claim occurred in this county.
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 4 -
           Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 5 of 25




 1                    INTRODUCTION AND FACTS OF MISREPRESENTATION
 2           25. Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
 3           26. Defendant markets and sells to consumers, directly and through large retail stores in
 4   California and Florida, distinctly branded personal fitness-tracking devices. These are called the
 5   Fitbit Force, Fitbit Flex, Fitbit One, Fitbit Zip, and Fitbit Ultra; as well as Fitbit’s second-generation
 6   products, the Fitbit Charge, Fitbit Charge HR, and Fitbit Surge.
 7           27. The basic model of the devices, the Fitbit Zip, does not have the 'sleep-tracking function'
 8   and the price for this base-model device does not reflect any extra charge for that function.
 9           28. In contrast, the non-Zip Fitbit devices – the Fitbit Force, Fitbit Flex, Fitbit One, Fitbit
10   Ultra, Fitbit Charge, Fitbit Charge HR, and Fitbit Surge (herein “Fitbit devices”) – charge at least an
11   additional $30 for the 'sleep tracker' function which is not available on the Fitbit Zip. The Fitbit
12   Force, Fitbit Flex, Fitbit One, Fitbit Ultra, Fitbit Charge, Fitbit Charge HR, and Fitbit Surge all
13   represent factually that they specifically track “hours slept,” “times woken up”, and the “quality of
14   sleep” of the individual wearing the device. These claims are on the actual physical packaging of the
15   device itself.
16           29. Fitbit claims that these sleep-tracking devices will “measure your sleep quality. Once the
17   data syncs, graphs on your (device) dashboard will reveal how long you slept and the number of
18   times you woke up, giving you a ‘sleep quality score.’”
19           30. The Fitbit devices’ packaging includes factual representations in the form of pictures and
20   examples of the “dashboard” which is used by individuals after they purchase the Fitbit device. The
21   pictures and examples of the dashboard demonstrate that the Fitbit is advertised as specifically
22   tracking the amount of time an individual wearing such device sleeps, the times an individual
23   awakens, and the quality of the individual’s sleep.
24

25

26

27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                       Page - 5 -
         Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 6 of 25




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                             Page - 6 -
           Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 7 of 25




 1          31. The images of the “dashboard” on the packaging depict specific numbers presented to the
 2   consumer as exact times.
 3          32. However, the Fitbit sleep-tracking technology cannot and does not perform these
 4   functions as represented.
 5                         Measurement of Sleep versus Measurement of Movement
 6          33. Polysomnography is a scientifically accepted form of sleep-monitoring technology. In
 7   polysomnography, a patient is hooked up to electrodes which report information back to a technician
 8   or doctor who, in real time, monitors the scientific equipment. This method accurately monitors
 9   many body functions during sleep, including brain waves, eye movements, muscle activity, heart
10   rhythm, and more, to diagnose and/or rule out sleep disorders.
11          34. The Fitbit devices do not record any of those functions, and only uses an accelerometer (a
12   “3-axis accelerometer” according to the device specs). But, that only tracks a wearer’s movement,
13   not sleep and as indicated above by scientists in this field, tracking movement is “not measuring
14   sleep, simply motion.”
15          35. Fitbit’s packaging affirmatively represents to consumers that Fitbit’s "sleep-tracking"
16   function will track "hours slept," "times woken up," and “sleep quality," but movement is not sleep.
17          36. Fitbit does not tell consumers that the device cannot actually track an individual’s sleep
18   length, number of times an individual wakes up, or the quality of an individual’s sleep. Despite
19   Fitbit’s specific representations that the Fitbit sleep-tracking function can and does track and provide
20   precise and accurate numbers, down to the minute, of how much sleep a user gets, the Fitbit sleep-
21   tracking function simply does not and cannot accurately provide these numbers.
22          37. Fitbit goes beyond even those exact, mathematical misrepresentations and further
23   represents to consumers that the sleep-tracking function can take those numbers and determine the
24   quality of the consumer’s sleep.
25          38. Facts exist to allow a reasonable fact finder to conclude that the Fitbit misrepresents to
26   customers what the device will do, and that the devices cannot track sleep and rather only
27   movement:
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 7 -
           Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 8 of 25




                a. Dr. Irshaad Ebrahim, of the London Sleep Center, noted that devices such as
 1
                   Fitbit’s are “not measuring sleep, simply motion – not muscle tone, brain
 2                 waives, heart rate or eye movement. You cannot infer quality of sleep from
                   motion and tell what is crucial REM [rapid eye movement] sleep and what is
 3                 not.” See Sleep sensors: Waking up to the need to study our night’s rest, THE
                   GAURDIAN,             Aug.         22,       2014        available         at
 4
                   http://www.theguardian.com/lifeandstyle/2014/aug/22/sleep-trackers-to-boost-
 5
                   health-fitness (last visited Nov. 24, 2015).

 6              b. A tested Fitbit device with the sleep tracking function never provided
                   reviewer with informative sleep tracking data. Fitbit One Review: Slightly
 7                 Flawed, But Still A Great Way to Quantify Yourself, TECH CRUNCH, Nov. 18,
                   2012 available at http://techcrunch.com/2012/11/18/fitbit-one-review-slightly-
 8
                   flawed-but-still-a-great-way-to-quanitfy-yourself (last visited Nov. 24, 2015).
 9
                c. The Fitbit device does not measure sleep and only “guesses” the amount of
10                 time that a user sleeps. Fitbit One Review: A great way to monitor your
                   wretched     laziness,    GIZMODO,      Oct.    24, 2012    available   at
11
                   http://gizmodo.com/5954563/fitbit-one-review-a-great-way-to-monitor-your-
12                 wretched-laziness (last visited Nov. 24, 2015).

13
            39. Fitbit has misrepresented the ability of the Fitbit sleep-tracking function to perform as
     advertised. Defendant has also failed to disclose and/or has concealed material facts from
14

15
     consumers, namely, the limitations of the sleep-tracking function of these devices.

16
            40. Reasonable consumers are likely to be deceived by Defendant’s representations, because
     they represent that the device would track sleep, customers paid extra for that function, but the
17

18
     device does not track sleep.

19
            41. Moreover, Plaintiffs and the putative class members have been harmed in that they paid
     extra for this sleep-tracking function, which was promised to them by Defendant through
20

21
     advertising, packaging, and other public and direct representations, but have not received the

22
     function for which they have paid.
                                    PLAINTIFF BRICKMAN’S PURCHASE
23

24
            42. Plaintiff realleges and incorporates herein all previous paragraphs of this Complaint.

25
            43. On or about November 29, 2013, Plaintiff Brickman purchased a Fitbit Flex device,
     which includes the sleep-tracking function challenged in this action.
26

27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                    Page - 8 -
           Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 9 of 25




 1           44. Plaintiff Brickman purchased said device for $99.00, which Defendant had represented
 2   through advertising, especially on the packaging of the device itself, and other public and direct
 3   representations, to include a sleep-tracking function as described above.
 4           45. Plaintiff Brickman’s receipt is attached hereto as Exhibit A and incorporated herein.
 5           46. Images of the packaging for Plaintiff Brickman’s purchased Fitbit Flex are attached
 6   hereto as Exhibit B and incorporated herein.
 7           47. Plaintiff Brickman encountered and relied on Defendant’s representations as to the Fitbit
 8   Flex’s sleep-tracking function, as described above, including, but not limited to, Defendant’s
 9   representations through advertising, especially on the packaging of the device he purchased, and
10   other public and direct representations including that the device would track his “hours slept,” “times
11   woken up,” and/or his “sleep quality.” See ¶¶ 10 – 15, above.
12           48. Plaintiff Brickman began wearing the device after his purchase to track his daily activity
13   as well as his sleep.
14           49. After a short period of wearing the device, it became obvious to Plaintiff Brickman that
15   the device only tracked his motion and did not actually track the hours he slept, the times he awoke
16   during sleep, or the quality of his sleep.
17           50. Defendant’s representations that Plaintiff Brickman would receive a working and
18   functional sleep-tracking feature were false. The product Plaintiff Brickman purchased did not
19   perform as advertised.
20           51. Defendant’s representations as to the Fitbit Flex’s sleep-tracking function, as described
21   above, played a substantial role in Plaintiff Brickman’s decision to purchase the Fitbit Flex, and
22   Plaintiff would not have purchased the Fitbit Flex in the absence of Defendant’s misrepresentations.
23

24                                PLAINTIFF CLINGMAN’S PURCHASE
25           52. Plaintiffs reallege and reincorporate herein all previous paragraphs of this Complaint.
26           53. In or around June of 2014, Plaintiff Clingman purchased a Fitbit Flex which includes the
27   sleep tracking function challenged in this action.
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 9 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 10 of 25




 1          54. Plaintiff Clingman purchased said device for approximately $120, which Defendant had
 2   represented through advertising, especially on the packaging of the device itself, and other public
 3   and direct representations, to include a sleep-tracking function as described above.
 4          55. Plaintiff Clingman began using the device and signed up for a Fitbit account in June of
 5   2014. A screenshot of the date that Plaintiff Clingman activated her Fitbit account is attached hereto
 6   as Exhibit C and incorporated herein.
 7          56. Plaintiff Clingman encountered and relied on Defendant’s representations as to the Fitbit
 8   Flex’s sleep-tracking function, as described above, including, but not limited to, Defendant’s
 9   representations through advertising, especially on the packaging of the device she purchased, and
10   other public and direct representations. See ¶¶ 10 – 15, above.
11          57. Defendant’s representations that Plaintiff Clingman would receive a working and
12   functional sleep-tracking feature were false. The product Plaintiff Clingman purchased did not
13   perform as advertised.
14          58. Defendant’s representations as to the Fitbit Flex’s sleep-tracking function, as described
15   above, played a substantial role in Plaintiff Clingman’s decision to purchase the Fitbit Flex, and
16   Plaintiff would not have purchased the Fitbit Flex in the absence of Defendant’s misrepresentations.
17                                         CLASS ALLEGATIONS
18          59. Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
19
            60.     Plaintiff Clingman brings this action on behalf of herself and all other similarly
20
     situated persons (hereinafter referred to as “California class members”), to wit:
21
                    All California residents who have purchased and registered online with Fitbit
22                  a Fitbit Force, a Fitbit Flex, a Fitbit One, a Fitbit Ultra, a Fitbit Charge, a
                    Fitbit Charge HR, and/or a Fitbit Surge, in the State of California, before
23                  October 27, 2014 and within the applicable statute of limitations.
24
            61.     Plaintiff Brickman brings this action on behalf of himself and all other similarly
25
     situated persons (hereinafter referred to as “Florida class members”), to wit:
26
                    All Florida residents who have purchased and registered online with Fitbit
27
                    a Fitbit Force, a Fitbit Flex, a Fitbit One, a Fitbit Ultra, a Fitbit Charge, a
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                      Page - 10 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 11 of 25




                      Fitbit Charge HR, and/or a Fitbit Surge, in the State of Florida, before
 1
                      October 27, 2014 and within the applicable statute of limitations.
 2

 3
              62.     The classes number over one-hundred (100) persons and are so numerous that joinder

 4
     of all members is impracticable, and it is further impracticable to bring all such persons before this

 5
     Court.

 6
              63.     The injuries and damages to these class members present questions of law and fact

 7
     that are common to each class member, and that are common to the class as a whole.

 8
              64.     Defendant has engaged in the same conduct regarding all of the other members of the

 9
     Florida and California classes.

10
              65.     The claims, defenses, and injuries of the representative Plaintiffs are typical of the

11
     claims, defenses, and injuries of all those in the Florida and California classes that they respectively

12
     represent, and the claims, defenses, and injuries of each class member are typical of those of all other

13
     members in the respective classes.

14
              66.     The representative Plaintiffs will fully and adequately protect and represent the entire

15
     Florida and California classes, and all of each classes’ putative class members.

16
              67.     The identity of all members of each respective class cannot be determined at this

17
     time, but will be so determined at a later time upon obtaining discovery from Defendant and others.

18
              68.     The prosecution of separate actions by each member of the Florida and California

19
     classes would create a substantial risk of inconsistent or varying adjudications with regard to

20
     individual members of each respective class that would establish incompatible standards of conduct

21
     for Defendant.

22
              69.     The prosecution of separate actions would also create a substantial risk of

23
     adjudication with respect to individual members of each respective class which, as a practical matter,

24
     would be dispositive of the interest of other members not parties to the adjudication, thereby

25
     substantially impairing and impeding their ability to protect these interests. Further, the maintenance

26
     of this suit as a class action is the superior means of disposing of the common questions which

27
     predominate herein.
                                          FIRST CLAIM FOR RELIEF
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                      Page - 11 -
            Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 12 of 25



                                    California’s Unfair Competition Law
 1                                   Bus & Prof. Code, § 17200 et seq.
                                              California Class
 2

 3           70.    Plaintiff Clingman realleges and incorporates herein all previous paragraphs of this
 4   Complaint.
 5           71.    At all times relevant hereto, Defendant’s alleged actions constitute a business practice
 6   under California law.
 7           72.    The California Unfair Competition Law (“UCL”) defines unfair business competition
 8   to include “unlawful, unfair, or fraudulent” acts or practices, as well as any unfair, deceptive, untrue,
 9   or misleading advertising. Bus & Prof. Code, § 17200.
10           73.    The California Supreme Court has emphasized that the “[s]ubstantive right extended
11   to the public by the UCL is the right to protection from fraud, deceit, a nd unlawful conduct, and the
12   focus of the statute is on the defendant’s conduct.”
13           a. “Unlawful” Prong of the UCL
14           74.    Plaintiff Clingman realleges and incorporates herein all previous paragraphs of this
15   Complaint.
16           75.    A business act or practice is “unlawful” if it violates any established state or federal
17   law.
18           76.    The Federal Trade Commission Act prohibits unfair methods of competition, and
19   unfair or deceptive acts or practices in or affecting commerce, which includes, inter alia, false
20   advertising. 15 U.S.C. § 41 et seq.; 15 U.S.C. § 52(a) & (b).
21           77.    Defendant has violated and continues to violate the “unlawful” prong of the UCL by
22   violating the FTC Act’s prohibition on false advertising and deceptive acts and practices when it
23   represented to consumers that the sleep-tracking function of its Fitbit devices can and does make
24   specific, mathematical measurements and calculations as to the amount and quality of the wearer’s
25   sleep, as stated above.
26

27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                      Page - 12 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 13 of 25




 1          78.     As detailed in Plaintiffs’ Second Claim for Relief, below, Cal. Bus. & Prof. § 17500
 2   (California False Advertising Law aka “FAL”) prohibits unfair, deceptive, untrue, or misleading
 3   advertising, including, but not limited to, making untrue or misleading statements in advertising.
 4          79.     Defendant has violated and continues to violate the “unlawful” prong of the UCL by
 5   violating the FAL. See ¶¶ 87 – 91, below.
 6          80.     Moreover, as detailed in Plaintiffs’ Third Claim for Relief, below, Cal. Civ. Code
 7   §1770 (California Legal Remedies Act aka “CLRA”) section (a)(5) prohibits a business from
 8   “representing that goods… have… characteristics,… uses, [or] benefits… which they do not have”;
 9   Section (a)(7) prohibits a business from representing that its devices are “of a particular standard or
10   quality, when they are of another”; and §1770(a)(9) prohibits a business from “advertising goods or
11   services with intent not to sell them as advertised.”
12          81.     Defendant has violated and continues to violate the “unlawful” prong of the UCL by
13   violating the CLRA. See ¶¶ 92 – 97, below.
14          82.     As a direct and proximate result of Defendant’s violations, Plaintiff Clingman and the
15   California class members have suffered injury in fact in an amount to be established at trial. For
16   instance, Defendant markets and sells the Fitbit Zip, which contains the same fundamental features
17   of the other Fitbit devices EXCEPT the sleep-tracking function. The Fitbit devices with the sleep-
18   tracking function are at least $30 more than the Fitbit device without the sleep-tracking function.
19          83.     Through its unlawful acts and practices, Defendant has obtained, and continues to
20   unfairly obtain, money from members of the putative class. As such, Plaintiff Clingman requests that
21   this Court restore this money to Plaintiff and all putative class members, to disgorge the profits
22   Defendant has made on its sleep-tracking function, and to enjoin Defendant from continuing to
23   violate the UCL as discussed herein.
24          b. “Unfair” Prong of the UCL
25          84.     Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
26          85.     A business act or practice is “unfair” if the reasons, justifications, and motives of the
27   alleged wrongdoer are outweighed by the gravity of the harm to the alleged injured party.
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 13 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 14 of 25




 1          86.      Defendant has violated and continues to violate the “unfair” prong of the UCL by
 2   falsely representing that the sleep-tracking function of its Fitbit devices can make specific,
 3   mathematical measurements and calculations as to the amount and quality of the wearer’s sleep as
 4   stated above.
 5          87.      These acts and practices are unfair because they are likely to cause consumers to
 6   falsely believe that Defendant is offering a function that will track, to the minute, the amount they
 7   sleep and the quality and efficiency, to an exact percentage point, of that sleep.
 8          88.      The gravity of the harm to Plaintiff Clingman and the California class members
 9   outweighs any conceivable reasons, justifications, and/or motives of Defendant to overstate the Fitbit
10   devices’ sleep function capabilities (i.e. Defendant’s profit motive).
11          89.      As a direct and proximate result of Defendant’s violations, Plaintiff Clingman and the
12   California class members have suffered injury in fact in an amount to be established at trial. For
13   instance, Defendant markets and sells the Fitbit Zip, which contains the same fundamental features
14   of the other Fitbit devices EXCEPT the sleep-tracking function. The Fitbit devices with the sleep-
15   tracking function are at least $30 more than the Fitbit device without the sleep-tracking function.
16          90.      Through its unfair acts and practices, Defendant has obtained, and continues to
17   unfairly obtain, money from members of the putative class. As such, Plaintiff requests that this court
18   restore this money to Plaintiff and all putative class members, to disgorge the profits Defendant has
19   made on its sleep-tracking function, and to enjoin Defendant from continuing to violate the UCL as
20   discussed herein.
21          c. “Fraudulent” Prong of the UCL
22          91.      Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
23          92.      A business act or practice is “fraudulent” under the UCL if it is likely to deceive
24   members of the consuming public.
25          93.      Defendant’s acts and practices of overstating the Fitbit sleep function’s capabilities
26   and misrepresenting that the function will track, to the minute, the amount a user sleeps and the
27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 14 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 15 of 25




 1   efficiency, to an exact percentage point, of that sleep have the likely effect of misleading consumers
 2   into believing, simply, that the function can do things it cannot. See ¶¶ 10 – 15.
 3          94.      To reiterate, Defendant makes numerous very specific representations that the devices
 4   can and do track and provide precise and accurate numbers, down the minute, of how much sleep a
 5   user would get. The Fitbit sleep-tracking function simply does not and cannot accurately provide
 6   these numbers. See ¶¶ 10 – 15.
 7          95.      What’s more, Defendant goes beyond even those exact, mathematical representations,
 8   and represents to consumers that the sleep-tracking function can actually take those numbers that the
 9   function itself carefully worked out to determine, to an exact percentage, the quality of the
10   consumer’s sleep. See ¶¶ 10 – 15.
11          96.      The Fitbit sleep function cannot and does not do this.
12          97.      As a direct and proximate result of Defendant’s violations, Plaintiff Clingman and the
13   California class members have suffered injury in fact in an amount to be established at trial. For
14   instance, Defendant markets and sells the Fitbit Zip, which contains the same fundamental features
15   of the other Fitbit devices EXCEPT the sleep-tracking function. The Fitbit devices with the sleep-
16   tracking function are at least $30 more than the Fitbit device without the sleep-tracking function.
17          98.      Through its fraudulent acts and practices, Defendant has obtained, and continues to
18   unfairly obtain, money from members of the putative class. As such, Plaintiff requests that this court
19   restore this money to Plaintiff and all putative class members, to disgorge the profits Defendant has
20   made on its sleep-tracking function, and to enjoin Defendant from continuing to violate the UCL as
21   discussed herein.
                                      SECOND CLAIM FOR RELIEF
22                 California False Advertising Law, Cal. Bus. & Prof. Code § 17500 et seq.
                                               California Class
23

24          99.      Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
25          100.     The California False Advertising Law (FAL) prohibits unfair, deceptive, untrue, or
26   misleading advertising.
27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 15 -
           Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 16 of 25




 1          101.    Defendant’s practice of overstating the Fitbit sleep function’s capabilities and
 2   misrepresenting that the function will track, to the minute, the amount a user sleeps and the quality
 3   and efficiency of that sleep is an unfair, deceptive, and misleading advertising practice because it
 4   gives the false impression that the Fitbit sleep-tracking function can do things that it simply cannot
 5   do.
 6          102.    As a direct and proximate result of Defendant’s violations, Plaintiff Clingman and the
 7   California class members have suffered injury in fact in an amount to be established at trial. For
 8   instance, Defendant markets and sells the Fitbit Zip, which contains the same fundamental features
 9   of the other Fitbit devices EXCEPT the sleep-tracking function. The Fitbit devices with the sleep-
10   tracking function are at least $30 more than the Fitbit device without the sleep-tracking function.
11          103.    Through its deceptive advertising practices, Defendant has obtained, and continues to
12   unfairly obtain, money from members of the putative class. As such, Plaintiff requests that this court
13   restore this money to Plaintiff Clingman and all California class members, to disgorge the profits
14   Defendant has made on its sleep-tracking function, and to enjoin Defendant from continuing to
15   violate the FAL as discussed herein.
16
                                    THIRD CLAIM FOR RELIEF
17                      Consumer Legal Remedies Act, Cal Civ. Code § 1750 et seq.
                                          California Class
18

19          104.    Plaintiff realleges and incorporates herein all previous paragraphs of this Complaint.
20          105.    At all relevant times hereto, including at all times during the transactions between
21   Plaintiff Clingman and Defendant, and the consumer transactions between the California class
22   members and Defendant, Plaintiff Clingman and each of the California class members were
23   “consumers”, and the transactions were “consumer transactions”, within the meaning of the CLRA.
24          106.    In connection with the consumer transactions alleged herein, including the consumer
25   transaction between Plaintiff Clingman and Defendant, and the consumer transactions between the
26   putative class members and Defendant, Defendant’s representations, acts, and/or practices regarding
27   the Fitbit sleep-tracking function’s purported abilities were unfair and deceptive, to wit:
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                       Page - 16 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 17 of 25




 1
                    a. Defendant made very specific representations that the Fitbit sleep function will
 2                     precisely track, to the minute, the amount a user sleeps and the quality and
                       efficiency, to an exact percentage point, of that sleep.
 3
                    b. Defendant goes beyond even those exact, mathematical representations, though,
 4                     and represents to consumers that the sleep-tracking function can actually take
                       those numbers, the numbers that the function itself purportedly carefully works
 5                     out, to determine the quality of the consumer’s sleep.
 6                  c. Defendant specifically represents and provides to consumers exact numbers for
                       “actual sleep time, X hrs X mins,” “bed time XX:XX p.m.,” “fell asleep in X
 7                     minutes,” “awakened X times,” “sleep efficiency X%,” “X minutes awake,” “X
                       restless minutes,” and how many times the user was awake and/or restless over
 8                     the course of the wearer’s night of sleep.
 9
            107.    Defendant’s deceptive representations were material to the consumer transaction
10
     between Plaintiff Clingman and Defendant, as well as the California class members and Defendant.
11
            108.    As a result of the conduct described herein, Defendant has engaged in unfair and
12
     deceptive sales practices in violation of the CLRA, to wit:
13

14                  a. Defendant, by advertising that the Fitbit sleep-tracking function could perform
                       tasks that it in fact could not, was thus representing that its goods had
15                     characteristics, uses, and/or benefits that they did not have, which is a violation of
                       CLRA §1770(a)(5);
16
                    b. Defendant, by advertising that the Fitbit sleep-tracking function could perform
17                     tasks that it in fact could not, and not being able to provide consumers with a
                       product with a function that could perform as advertised, Defendant was thus
18                     representing that its devices were of a particular standard or quality, when they
                       are of another, which is a violation of CLRA §1770(a)(7).
19
                    c. Defendant, by advertising that the Fitbit sleep-tracking function could perform
20                     tasks that it in fact could not, and not being able to provide consumers with a
                       product with a function that could perform as advertised, Defendant was thus
21                     advertising goods or services with intent not to sell them as advertised, which is a
                       violation of CLRA §1770(a)(9).
22

23          109.    As a direct and proximate result of Defendant’s violations, Plaintiff Clingman and the
24   California class members have suffered injury in fact in an amount to be established at trial. For
25   instance, Defendant markets and sells the Fitbit Zip, which contains the same fundamental features
26   of the other Fitbit devices EXCEPT the sleep-tracking function. The Fitbit devices with the sleep-
27   tracking function are at least $30 more than the Fitbit device without the sleep-tracking function.
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 17 -
            Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 18 of 25




 1
                                      FOURTH CLAIM FOR RELIEF
 2                             Violation of the Magnuson-Moss Warranty Act,
                                           15 U.S.C. § 2301, et. seq.
 3                                              California Class
 4
             110.   Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
 5
             111.   At all times relevant hereto, there was in full force and effect the Magnuson-Moss
 6
     Warranty Act, 15 U.S.C. § 2301, et seq. (the “MMWA”).
 7
             112.   The Fitbit products are consumer products within the meaning of 15 U.S.C. §
 8
     2301(1).
 9
             113.   Plaintiff Clingman and the California class members are consumers as defined in 15
10
     U.S.C. § 2301(3). They are consumers because they are persons entitled under applicable state law
11
     to enforce against the warrantor the obligations of its warranties.
12
             114.   Defendant is a supplier and warrantor within the meaning of 15 U.S.C. § 2301(4) and
13
     (5).
14
             115.   Pursuant to 15 U.S.C. § 2310(e), Plaintiff Clingman is entitled to bring this class
15
     action and is not required to give Defendant notice or an opportunity to cure until such time as the
16
     Court determines the representative capacity of Plaintiff pursuant to Rule 23 of the Federal Rules of
17
     Civil Procedure.
18
             116.   In connection with its sale of the Fitbit products, Defendant gave an implied warranty
19
     as defined in 15 U.S.C. § 2301(7); namely, the implied warranty of merchantability. As a part of the
20
     implied warranty of merchantability, Defendant warranted that the sleep-tracking function of the
21
     Fitbit devices were fit for their ordinary purpose, would pass without objection in the trade as
22
     designed, manufactured and marketed, and were adequately contained, packaged and labeled. Cal.
23
     Civ. Code § 1790 et seq. (Song-Beverly Consumer Warranty Act); UCC 2-314.
24
             117.   Defendant is liable to Plaintiff and the putative class members pursuant to 15 U.S.C.
25
     § 2310(d)(1), because it breached its implied warranty of merchantability.
26

27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                    Page - 18 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 19 of 25




 1          118.    Defendant breached its implied warranty of merchantability to Plaintiff and putative
 2   class members because the sleep-tracking function of the Fitbit devices were not fit for the ordinary
 3   purposes for which they are used – accurately tracking the user’s sleep.
 4          119.    Defendant further breached its implied warranty of merchantability to Plaintiff and
 5   the putative class members because the Fitbit devices were not adequately contained, packaged, and
 6   labeled. The representations that accompanied the sleep-tracking function of the Fitbit devices did
 7   not adequately instruct Plaintiff or the putative class members on the proper use of the sleep-tracking
 8   function in light of the function’s inability to accurately give exact, mathematical representations, as
 9   well as the sleep-tracking function’s inability to take those supposedly precise numbers, the numbers
10   that the function itself purportedly carefully works out, to determine, to an exact percentage, the
11   quality and efficiency of the consumer’s sleep.
12          120.    Pursuant to 15 U.S.C. § 2310(d)(1), Defendant caused Plaintiff and the putative class
13   members foreseeable harm, to wit: the difference in value between the Fitbit devices as sold and the
14   Fitbit devices as actually delivered – without a functioning sleep-tracking device (i.e. a partial refund
15   of the purchase price of the Fitbit devices equal to the value of the sleep-tracking function each
16   consumer should have received).
17          121.    In addition, pursuant to 15 U.S.C. § 2310(d)(2), Plaintiff and the putative class
18   members are entitled to recover a sum equal to the aggregate amount of costs and expenses
19   (including attorneys’ fees based on actual time expended) determined by the Court to have been
20   reasonably incurred by Plaintiff and the putative class members in connection with the
21   commencement and prosecution of this action.
22

23

24                                FIFTH CLAIM FOR RELIEF
                                   Breach of Implied Warranties
25                       Common Law, UCC, and/or Cal. Civ. Code § 1790 et seq.
                                         California Class
26

27          122.    Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                      Page - 19 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 20 of 25




 1          123.    At all times relevant, Defendant was a “merchant” and/or a “manufacturer,” and the
 2   Fitbit products were “consumer goods” “sold” at retail.
 3          124.    At no relevant time did Defendant state, orally or in writing, “as is” or “with all
 4   faults” on the Fitbit products or the product packaging.
 5          125.    Defendant made promises and affirmations of fact through its marketing campaign, as
 6   alleged above, including, but not limited to, representing that the product had a sleep-tracking
 7   function that would perform as advertised.
 8          126.    This product advertising constitutes promises and assurances including, but not
 9   limited to, implied warranties of merchantability and fitness for a particular purpose.
10          127.    Defendant’s advertising constitutes warranties, became part of the basis of the
11   bargain, and is part of the contract between Plaintiff and the putative members of the class on the
12   one hand, and Defendant on the other.
13          128.     The affirmations of fact made by Defendant were made to induce Plaintiff Clingman
14   and the California class members to purchase the products.
15          129.    Plaintiff Clingman and the California class members have relied on Defendant’s
16   affirmations of fact.
17          130.    All conditions precedent to Defendant’s liability under the warranties have been
18   performed by Plaintiff Clingman and the California class members or have been waived.
19          131.    Defendant breached the terms of the implied warranty of merchantability because the
20   Fitbit products were not adequately packaged or labeled, nor did the promises or affirmations found
21   on the packaging conform to the actual efficacy of the sleep-tracking function.
22          132.    Moreover, the Fitbit devices were designed for, inter alia, the particular purpose of
23   tracking the consumer’s sleep. As such, by failing to provide a sleep-tracking function that performs
24   as represented, Defendant has breached its implied warranty that the product is fit for that purpose.
25          133.    As a direct and proximate result of Defendant’s breach of warranties, Plaintiff
26   Clingman and the California class members have been damaged in an amount to be established at
27   trial. For instance, Defendant markets and sells the Fitbit Zip, which contains the same fundamental
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 20 -
            Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 21 of 25




 1   features of the other Fitbit devices EXCEPT the sleep-tracking function. The Fitbit devices with the
 2   sleep-tracking function are at least $30 more than the Fitbit device without the sleep-tracking
 3   function.
                                       SIXTH CLAIM FOR RELIEF
 4                    Violation of Florida’s Deceptive and Unfair Trade Practices Act
                                          Fla. Stat. 501.201 et. seq.
 5                                              Florida Class
 6           134.   Plaintiffs reallege and incorporate herein all previous paragraphs of this complaint.
 7
             135.   Plaintiff Brickman and the Florida class members are consumers as defined under the
 8
     Florida Deceptive and Unfair Trade Practices Act, § 501.203(7).
 9
             136.   Under the Florida Deceptive and Unfair Trade Practices Act, a business act or
10

11   practice is unlawful if it violates any established state or federal law.

12           137.   The Federal Trade Commission Act prohibits unfair methods of competition, and
13
     unfair or deceptive acts or practices in or affecting commerce, which includes that a seller or
14
     manufacturer should advertise that its product is warranted or contained a guarantee, if the seller
15
     and/or manufacturer intends to fully perform said guarantee. See 16 CFR § 239.5.
16
             138.   Defendant has violated and continues to violate the FTC Act’s prohibition on failing
17

18   to fulfill advertised guarantees with respect to a product when it represented to consumers that the

19   sleep-tracking function of its Fitbit devices can and does make specific, mathematical measurements
20
     and calculations as to the amount and quality of the wearer’s sleep, as stated above, which it does
21
     not.
22
             139.   As a direct and proximate result of Defendant’s violations, Plaintiff Brickman and the
23

24
     Florida class members have suffered injury in fact in an amount to be established at trial. For

25   instance, Defendant markets and sells the Fitbit Zip, which contains the same fundamental features

26   of the other Fitbit devices except the sleep-tracking function. The Fitbit devices with the sleep-
27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                    Page - 21 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 22 of 25




     tracking function are at least $30 more expensive than the devices without the sleep-tracking
 1

 2   function.

 3          140.    Through its unlawful acts and practices, Defendant has obtained, and continues to
 4
     unfairly obtain, money from members of the putative class. As such, Plaintiff requests that this court
 5
     restore this money to Plaintiff Brickman and all Florida class members, to disgorge the profits
 6
     Defendant has made on the sleep-tracking function, and to enjoin Defendant from continuing to
 7
     violate the Florida Deceptive and Unfair Trade Practices Act as discussed herein.
 8

 9                                   SEVENTH CLAIM FOR RELIEF
                                          Common Law Fraud
10                                     Florida and California Class

11
            141.    Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
12
            142.    Defendant willfully, falsely, and knowingly misrepresented material facts relating to
13
     the character and quality of the sleep-tracking function, as stated above. These misrepresentations
14
     are contained in various media advertising and packaging disseminated or caused to be disseminated
15
     by Defendant, and such misrepresentations were reiterated and disseminated by officers, agents,
16
     representatives, servants, or employees of Defendant, acting within the scope of their authority, and
17
     employed by Defendant to merchandise and market Fitbit products.
18
            143.    Defendant’s misrepresentations were the type of misrepresentations that are material
19
     (i.e., the type of misrepresentations to which a reasonable person would attach importance and
20
     would be induced to act thereon in making purchase decisions).
21
            144.    Defendant knew that the misrepresentations alleged herein were false at the time it
22
     made them and/or acted recklessly in making such misrepresentations.
23
            145.    Defendant intended that Plaintiff and the putative class members rely on the
24
     misrepresentations alleged herein and purchase the Fitbit products containing a sleep-tracking
25
     function.
26
            146.    Plaintiffs and the California and Florida class members reasonably and justifiably
27
     relied on Defendant’s misrepresentations when purchasing the Fitbit products containing a sleep-
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                    Page - 22 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 23 of 25




 1   tracking function, were unaware of the existence of facts that Defendant suppressed and failed to
 2   disclose, and, had the facts been known, would not have purchased products and/or would not have
 3   purchased them at the prices at which they were offered.
 4          147.    As a direct and proximate result of Defendant’s fraudulent misrepresentations,
 5   Plaintiffs and the California and Florida class members have been damaged in an amount to be
 6   established at trial. For instance, Defendant markets and sells the Fitbit Zip, which contains the same
 7   fundamental features of the other Fitbit devices EXCEPT the sleep-tracking function. The Fitbit
 8   devices with the sleep-tracking function are at least $30 more than the Fitbit device without the
 9   sleep-tracking function.
10          148.    Moreover, in that, at all times herein mentioned, Defendant intended to cause or acted
11   with reckless disregard of the probability of causing damage to Plaintiff and the putative class
12   members, and because Defendant was guilty of oppressive, fraudulent, and/or malicious conduct,
13   Plaintiff and the putative class members are entitled to an award of exemplary or punitive damages
14   against Defendant in an amount adequate to deter such conduct in the future.
15
                                      EIGHTH CLAIM FOR RELIEF
16                                      Negligent Misrepresentation
                                       Florida and California Classes
17

18          149.    Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
19          150.    Defendant, directly or through its agents and employees, made false representations
20   of material facts, as described above, to Plaintiffs and the Florida and California class members.
21          151.    Defendant had no reasonable grounds for believing these representations to be true
22   when it made them.
23          152.    In making these representations, Defendant intended to induce the reliance of
24   Plaintiffs and the Florida and California class members.
25          153.    Plaintiffs and the Florida and California class members reasonably and justifiably
26   relied on Defendant’s misrepresentations when purchasing the products and, had the facts been
27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                    Page - 23 -
          Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 24 of 25




 1   known, they would not have purchased a Fitbit product with a sleep-tracking function at the price at
 2   which they were offered.
 3          154.     As a direct and proximate result of Defendant’s negligent misrepresentations,
 4   Plaintiffs and the Florida and California class members have been damaged in an amount to be
 5   established at trial. For instance, Defendant markets and sells the Fitbit Zip, which contains the same
 6   fundamental features of the other Fitbit devices EXCEPT the sleep-tracking function. The Fitbit
 7   devices with the sleep-tracking function are at least $30 more than the Fitbit device without the
 8   sleep-tracking function.
 9
                                       NINTH CLAIM FOR RELIEF
10                              Unjust Enrichment/Restitution/Quasi-Contract
                                        California and Florida Classes
11

12          155.     Plaintiffs reallege and incorporate herein all previous paragraphs of this Complaint.
13          156.     This claim asserts that it is unjust to allow Defendant to retain profits from its
14   deceptive, misleading, and unlawful conduct alleged herein.
15          157.     Defendant charged Plaintiffs and the Florida and California class members for the
16   sleep-tracking function.
17          158.     Defendant represented that this function would perform as stated in its advertising
18   and as alleged above.
19          159.     As detailed above, the sleep-tracking function does not actually work as represented
20   by Defendant.
21          160.     Because the sleep-tracking function was advertised as being able to perform in very
22   specific ways when, in reality, it cannot, Defendant collected profit for this ineffective function.
23          161.     As a result of these actions, Defendant received benefits under circumstances where it
24   would be unjust to retain these benefits.
25          162.     Defendant has knowledge or an appreciation of the benefit conferred upon it by
26   Plaintiff and the putative class members.
27          163.     Defendant has been unjustly enriched.
28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                      Page - 24 -
           Case 3:15-cv-02077-JD Document 60 Filed 12/22/15 Page 25 of 25




 1           164.    Plaintiffs and the Florida and California class members are entitled to restitution
 2   and/or disgorgement of all profits, benefits, and other compensation obtained and retained by the
 3   Defendant from its deceptive, misleading, and unlawful conduct. For instance, Defendant markets
 4   and sells the Fitbit Zip, which contains the same fundamental features of the other Fitbit devices
 5   EXCEPT the sleep-tracking function. The Fitbit devices with the sleep-tracking function are at least
 6   $30 more than the Fitbit device without the sleep-tracking function.
 7                                           PRAYER FOR RELIEF
 8   WHEREFORE Plaintiffs demand judgment as follows:
 9           1.      For an Order determining at the earliest possible time that this matter may proceed as
10   a class action under Civil Rule 23 and certifying this case as such;
11           2.      For compensatory damages, restitution, and/or recovery of such relief as permitted by
12   law in kind and amount;
13           3.      For punitive damages pursuant to common law and/or statutory law;
14           4.      For reasonable costs and attorney fees necessarily incurred herein pursuant to
15   common law and/or statutory law;
16           5.      For trial by jury on all issues;
17           For such other or further relief as this Honorable Court deems Plaintiffs and the putative
18   classes are entitled.
19
     DATED: December 22, 2015                              DWORKEN & BERNSTEIN CO., L.P.A.;
20                                                         LAW OFFICES OF JOHN A. KITHAS;
                                                           LAW OFFICE OF CHRISTOPHER J.
21                                                         MOROSOFF
22
                                                           Attorneys for Plaintiffs
23

24
                                                           _/s/ Patrick J. Perotti____________________
25
                                                           By Patrick J. Perotti
26

27

28


     FOURTH AMENDED COMPLAINT – CLASS ACTION                                                     Page - 25 -
